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Pro Se | (Rev. 12/16) Complaint for a Civil Case

UNITED STATES DISTRICT COURT
for the
Southern District of Mississippi [-|

Southern__ Division

Catina Washington

SOUTHERN DISTRICT OF MISSIGSIPPI

BY

FILED

DEC 28 2023

ARTHUR JOHNSTON
DEPUTY

CaseNo. {°93¢v270 HSd-bWR

Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional
page with the full list of names.)

-V-

Burl Cain, ETAL
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Defendant(s)
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names.)

cba

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COMPLAINT FOR A CIVIL CASE

I. The Parties to This Complaint
A. The Plaintiff(s)

(to be filled in by the Clerk's Office)

Jury Trial: (check one) [V] Yes [No

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed.
Name Catina Washington
Street Address P.O.Box 1455
City and County Lucedale, George
State and Zip Code 39452
Telephone Number 228-217-1971
E-mail Address catinwash @icloud.com

B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,

include the person's job or title (ifknown). Attach additional pages if needed.

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Defendant No. 1

Name

Defendant No. 2

Burl Cain
Job or Title (if known) MDOC Commissioner
Street Address 301 North Lamar Street
“City and County Jackson, Hinds
State and Zip Code Mississsippi 39201
Telephone Number 601-566-5600
E-mail Address (if known) MDOCOfficeOfCommunications @ mdoc.state.ms.us

Name John Hunt

Job or Title (if known) DIRECTOR OF INVESTIGATION (CID)
Street Address 301 North Lamar Street

City and County Jackson, Hinds

State and Zip Code 39201

Telephone Number 601-359-5600

E-mail Address (if known)

Defendant No. 3

JOHunt @mdoc.state.ms.us

Name Jeworski Mallett

Job or Title (if known) MDOC Deputy Commisioner

Street Address 301 North Lamar Street

City and County Jackson, Hinds

State and Zip Code 39201

Telephone Number 601-566-5600

E-mail Address (if known) MDOCOfficeOfCommunications @ mdoc.state.ms.us

Defendant No. 4

Name Timothy Barnes
Job or Title (if known) Warden of SMCI
Street Address 22689 MS-63

City and County Leakesville, Greene
State and Zip Code 39451

Telephone Number

E-mail Address (if known)

601-394-5600

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6. Defendant: Unknown Beasley
Former Deputy Warden SMCI
22689 Hwy-63
Leakesville, MS 39451

GC: Defendant: Stanley McLeod
Sheriff of Greene County
300 Lafayette, MS 39451

\. Defendant: | Angel Myers McLrath
District Attorney 19th Circuit
3104 Magnolia Street
Pascagoula, MS 39567

° . Defendant: — Elliot Burch

Assistant District Attorney
11259 Old Hwy 63 South
Lucedale, MS 39452

& . Defendant: Lecarus Oliver

Mississippi Bureau Investigation
Major/Director of Criminal Investigation
16741 Hwy 67

Biloxi, MS 39532

1D. Defendant: Russell Houston
MDOC/CID lower-level Investigator
301 North Lamar Street
Jackson, MS 39201
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1\. Defendant:

42. Defendant:

13. Defendant:

Shelby Smith

Master Sergeant MBI
16741 Hwy 67

Biloxi, MS 39532

J.R. Roberis

SMCI/MDOC Human Resources Ofc.
22689 Hwy-63

Leakesville, MS 39451

Jane Doe #1
SMCI/MDOC

Disciplinary Hearing Officer
22689 Hwy-63

Leakesville, MS 39451
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II. Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. Ina
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apply)
[V ]Federal question Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.
A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
are at issue in this case.
1983, 1985, usc 241, MS STATE CONST. 1980, 18 USC 1512, 5 USC 2302, UNITED STATES
CONSTITUTION

B. If the Basis for Jurisdiction Is Diversity of Citizenship

1, The Plaintiff(s)
a. If the plaintiff is an individual
The plaintiff, (name) Catina Washington , is a citizen of the

State of (name) Mississippi

b. If the plaintiff is a corporation
The plaintiff, (name) Burl Cain , is incorporated

under the laws of the State of (name) Mississippi :

and has its principal place of business in the State of (name)

Mississippi

(If more than one plaintiff is named in the complaint, attach an additional page providing the
same information for each additional plaintiff. )

2. The Defendant(s)

a. If the defendant is an individual
The defendant, (name) Burl Cain , is a citizen of
the State of (name) Mississippi . Or is a citizen of

(foreign nation)

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b. If the defendant is a corporation
The defendant, (name) Buri Cain , is incorporated under
the laws of the State of (name) Mississippi , and has its

principal place of business in the State of (name) Mississippi

Or is incorporated under the laws of (foreign nation) United States of America ,

and has its principal place of business in (name) Mississippi

(If more than one defendant is named in the complaint, attach an additional page providing the
same information for each additional defendant.)

3. The Amount in Controversy

The amount in controversy—the amount the plaintiff claims the defendant owes or the amount at
stake-is more than $75,000, not counting interest and costs of court, because (explain):

Plantiff suffered miscarriage of justice, humiliation, anxiety, fear, retaliation, conspiracy, and was
viciously attacked by a prisoner under MDOC and parties enagaged in cover-up, failure to
prosecute, deprivations of state/federal rights. In summary, plantiff had to undergo serious
surgery from the attack. The parties collectively violated their Oath of Office in upholding the
United States Constitution, and acted as gatekeepers in obstructing the pursuit of justice.

Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

|, Catina Washington assert that on or about the month of December of 2020, while employed as case manager
at South MS Corr. Facility that a prisoner viciously attacked me and | suffered severe injuries which resulted in
surgery. Upon information & belief, Plantiff states that she was deprived of the right to be heard once she blew
the whistle and filed grievances with the entire chain of command at MDOC, CID, MBI, District Attorney's Office,
Sheriff's Dept. of Greene County, and additional attorneys but to no avail was plantiff afforded protections as a
victim regarding the right to prosecute. Additionally, all parties are fully aware of the situation but failed to follow
the letter of the law stemming from dates of 12/2020 till 2023 and all alleged investigations were not properly

2 yf:

Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or

punitive money damages.

Plantiff seeks punitive damages $3,000,000 to punish defendants for causing irreparable harm.
Plantiff seeks $100,000 individually from all defendants for engaging in cover-up & failue to safeguard rights

and for acting as gatekeepers in preventing charges being executed.
Plantiff seeks $200,000 individually & officially for defendant(s) Cain, Hunt, Barnes, Beasley, John Doe #2 CID

Supervisor, Mallett, & John Doe #3 SMCI Superintendent, Roberts, Guerin, Catlett.

Plantiff continues to suffer from being deprived of her Constitutional Rights as a whistle blower and faced with so
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Plantiff seeks a jury trial pursuant to Federal Rules of Civil Procedure.
Plantiff seeks full disclosure of any/all records regarding the assault.
Plantiff seeks digital copy of any/all surveillance footage of the attack.
Plantiff seeks any relief deemed fit by this Honorable Court.

V. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney
I agree to provide the Clerk’s Office with any changes to my address where case—related papers may be

served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date of signing: 12/09/2023

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Signature of Plaintiff rs pH WA bp

Printed Name of Plaintiff UF; an ff Af hk : tan
SO

B. For Attorneys

Date of signing:

Signature of Attorney

Printed Name of Attorney

Bar Number

Name of Law Firm
Street Address
State and Zip Code

Telephone Number
E-mail Address

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